AO 440 (Rev. 06/12) Suminons in ii Civil Action


                                        United States District Court
                                                                           for (lie
                                                                                                                       RECEIVED
                                                          Eastern District of Tennessee
                                                                                                                                JUL 1 5 2024
                       MIKAYLA EVANS                                          )
                                                                              )                                          Clerk, U. S. District Court
                                                                                                                      Eastern District of Tennessee
                                                                              )
                                                                                                                              At Knoxville
                                                                              )
                             P}ai)UiJf(.s)
                                  V.
                                                                              )        Civil Action No.   2:24-cv-106
                                                                              )
                    JOHNSON CITY, etal.
                                                                              )
                                                                              )
                                                                              )
                                                                              )
                            Defenchiiil(s)                                    )

                                                       SUMMONS IN A CIVIL ACTION


To: (Defendant's name and address)
                                             Jeff Legault
                                             769 Double Springs Road
                                             Jonesborough, TN 37659




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United Slates or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must seiwe on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                             Robert Dziewulski
                                             Ashleigh Beer-Vineyard
                                             DZ Law, PLLC
                                             800 S. Gay Street, Suite 2131
                                             Knoxville, TN 37929



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the eouit.

                                                                 <£S DIS
                                                                                          CLERK 0F COURT


Date:       06/21/2024

                                                                                                     Signature of Clerk or

                                                                                             > RECEIVED i

                                                                                              JUL 0 1 2024 CcCElCCsU^
      Case 2;24-cv-00106-JRG-CR\A/                        Document 5-4                Filed 06/21/24      Page 1 of 2        PagelD#:54
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Civil Action No.         2:24-cv-106


                                                              PROOF OF SERVICE

                       (This section should not be ifled with the court unless required by Fed. R. Civ. P. 4 (1))

           This summons            (mime of individual and title, if any)
was received by me on (date)             \'J V

               I personally served the summons on the individual at (place)
                                                                                     on



           □ I left the summons at the individual’s residence or usual place of abode with (name)

                                                                      , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           □ I served the summons on (name of individual)                                                                             , who is

            designated by law to accept service of process on behalf of (name of organization)
                                                                                     on (date)                              ; or


           □ 1 returned the summons unexecuted because                                                                                    ; or


           O Other (specify):




           My fees are S                           for travel and $                       for services, for a total of $           0.00




           I declare under penalty of perjury that this infonnation is true.



Date: -P'7-Pf


                                                                                             Printed name and title




                                                                                                 Server's address



Additional information regarding attempted service, etc:




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